Case 2:03-cV-02961-.]DB-tmp Document 52 Filed 08/25/05 Page 1 of 2 Page|D 71

UNITED STATES DlSTFi|CH|]Q}(-.HJRT
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rt J- ' .""~ §

August 25, 2005

RE: MARVIN RAY SPEARS vs. CANADIAN NATIONAL/ILLINOlS CENTRAY
ROADROAD
03-2961-B

Dear Counsel:

lt appears that in the above referenced cause the parties are unable to agree on the taxation
of costs.

Therefore, pursuant to Rule 54.l of the Local Rules for the Western Distn`ct of Tennessee,
the Clerk is required to assess costs, after notice and hearing. Accordingly, you are hereby notified
that the Clerk of Court Will tax costs on Thursdav, October13. 2005 @ 10:30 a.m.. in the Clerk’s
office located in Room 242, Clifford Davis Federal Building, 167 North Main Street, Memphis,
Tennessee. You may appear at that time and make any argument you believe relevant, but you are
not required to attend. The Clerk of Court Will accept any relevant citation of any law the parties
wish to submit, but such submissions must be received no later than one Week prior to the
scheduled hearingv Your appearance at this hearing and your submission of relevant case citations
is completely optional, and a party’s or counsel’s_decision to not appear or to not submit relevant
citations Will not adversely affect the Clerk of Court’s evaluation of how costs should be assessed

Sincerely,

Thomas M. Gould, Clerk of Court

by £MQ<M/ >:]’LW

Deputy Clerk
/ehg
c: Docket Clerk
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167 N. MAIN sTREI~:T 111 s. HIGHLAND

MEMPHIS, 'T`ENNESSEE 38103 JACKSON, TENNESSEE 333|
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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:03-CV-02961 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

